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RICHARD A. SMITH, WSBA 15127
SMITH LAW FIRM

314 No. Second Street

Yakima, WA 98901

Telephone: 509-457-5108

Attorney for Defendant
Donovan Cloud

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Salvador Mendoza, Jr.)

UNITED STATES OF AMERICA, ?
, ) NO. 1:19-CR-02032-SMJ-2
Plaintiff, )
)
VS ) DEFENDANT’S RESPONSE TO THE
} GOVERNMENT’S NOTICE OF
DONOVAN CLOUD, ) INTENT TO INTRODUCE
Defendant ) EVIDENCE PURSUANT TO FED. R.
EVID. 404(b)
)

 

 

 

TO: Clerk of U.S. District Court, Eastern District of Washington
TO: Thomas J. Hanlon,Assistant United States Attorney

COMES NOW DONOVAN CLOUD by and through his attorney of record,
Richard A. Smith of Smith Law Firm, and responds to the Government’s Notice of
Intent to Introduce Evidence Pursuant to Fed. R. Evid. 404(b) [ECF 92]. Donovan

Cloud requests that any evidence, information or mention of events alleged to have

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occurred at I, White Swan, Washington, on June 8, 2019,

be excluded from the Government’s case-in-chief.

1. Events alleged to have occurred at are not
“inextricably intertwined” with the offenses charged in the Indictment.
According to law enforcement reports, on June 8, 2019, Yakima County

dispatch advised that a blue 2007 Chevy Silverado pickup was taken at gunpoint from

aresidence at (EEE, White Swan, Washington. Dispatch broadcasted

 

thai two suspects, both armed, one with a handgun, one with a shotgun possibly
Native males, one in a tank top and shorts, second suspect in a blue shirt.

On arrival at the residence law enforcement spoke to multiple witnesses who
told them what they observed when the Chevy Silverado was taken from their
residence. Their observations included that two individuals were observed in their
back yard allegedly holding a gun to the head of S.V. and pointing a gun at other
members of the family while asking for the keys to the 2007 Silverado pickup.
During the theft of the pickup, $.V. was placed in the bed of the pickup and then
jumped out of the pickup as it left the residence. Based upon these events Mr. Cloud
was charged with carjacking and kidnap.

Count | of the Superseding Indictment charges a violation of 18 U.S.C. § 2119.
i8 U.S.C. § 2119 provides in part as follows:

Whoever, with the intent to cause death or serious bodily harm takes a
motor vehicle that has been transported, shipped or received in
interstate or foreign commerce from the person or the presence of
another by force and violence or by intimidation, or attempts to do so,
shall —- (1) be fined under this title or imprisoned not more than 15
years, or both ...

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Count 4 of the Superseding Indictment charges a violation of 18 U.S.C. § 1201(1)(2).
18 U.S.C. § 1201(a)(2) provides in part as follows:

(a) Whoever unlawfully seizes, confines, inveigles, decoys,
kidnaps, abducts or carries away and holds for ransom or reward or
otherwise any person ... when ~ (2) any such act against the person is
done within the special maritime and territorial jurisdiction of the
United States;

Shall be punished by imprisonment for any term of years or for life
and, if the death of any person results, shall be punished by death or
life imprisonment.

Any evidence, information or mention of the events alleged at

BB, White Swan, is not necessary for the prosecutor to present a coherent story
regarding the commission of an alleged carjack and kidnap and does not constitute
part of a transaction that serves as a basis for the charges. The allegations regarding

the events at I, White Swan, if proven, stand alone to support a

conviction on the charges in the Superseding Indictment.

As recognized in United States v. Gorman, 613 F.3d 711, 718 (7° Cir. 2010),
the concept of “inextricably intertwined” evidence is of questionable validity. “If
evidence is not direct evidence of the crime itself, it is usually propensity evidence
simply disguised as inextricably intertwined evidence and therefore improper.”
Because the “inextricably intertwined” theory of admissibility is “over used, vague,
and quite unhelpful” the Seventh Circuit has prohibited its use. Gorman, 613 F.3d at
719,

The Ninth Circuit has not yet gone so far as to invalidate the “inextricable
intertwinement” doctrine. However, the court has held that the test for admission

under this theory is quite strict. United States v. Vizcarra-Martinez, 66 F.3d 1006 cg"

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Cir. 1995). If the prosecution can present its case in a coherent manner without
referencing the other act evidence, the evidence should be excluded unless it meets the
terms of Fed. R. Evid. 404(b). United States v. Vizcarra-Martinez, 66 F.3d at 1013.

In United States v. DeGeorge, 380 F.3d 1203 (9" Cir. 2004), cited by the
Government, the court allowed a very limited use of a defendant’s prior insurance loss
history in an insurance fraud case. The court found that the evidence of the
defendant’s marine loss did not appear to be “inextricably intertwined” because the
prior losses were too far removed in both time and circumstance to be linked with the
alleged fraud. However, the court found that the prior loss evidence did fit into the
second category, that is, that it was necessary to allow the United States to present a
coherent story.

In DeGeorge, Id, however, the concealment by the defendant of his prior losses
had an important factual connection to several counts contained in the Indictment,
including the conspiracy count. The government specifically alleged that Mr.
DeGeorge’s scheme included sham transactions to hide his ownership of the boat and
concealment of his loss history on the insurance application. The court held that the
jury would not have understood the relevance of the transaction and concealment
without hearing at least some explanation why the defendant could not obtain
insurance in his own name. Further, the court limited the use of the prior loss
evidence to correspond with the issue to which it was relevant; defendant’s non-
disclosure of prior losses. United States v. DeGeorge, 380 F.3d 1203 (9" Cir, 2004).

In the present case, the Government is not limited in its ability to present any

allegation as charged in the Superseding Indictment by the court’s order excluding any

evidence of the events at [III white Swan.

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2. Federal Rule of Evidence 404(b).

Any evidence, information or mention of the events alleged to have occurred at
PEE, \Vhitc Swan, should not be admitted under Fed. R. Evid.
404(b). Under Fed. R. Evid. 404(b) evidence of prior acts may not be admitted to
prove a defendant’s character but it may be admitted for other purposes such as to
show knowledge and intent, if it satisfies the following requirements:

(1) it must prove a material element of the offense for which the defendant is

now charged;

(2) in certain cases, the prior conduct must be similar to the charge conduct;

(3) proof of the prior conduct must be based upon sufficient evidence; and

(4) the prior conduct must not be too remote in time.

United States v. Basinger, 60 F.3d 1400 (9" Cir. 1995) (citing United States v.
Arambul-Ruiz, 987 F.2d 599 (9" Cir. 1993). In addition, the probative value of the
evidence must outweigh its prejudicial effect under Fed. R. Evid. 403.

Applying this test, the court has also stated that:

... Extrinsic acts evidence is not looked upon with favor. We have
stated that our reluctance to sanction the use of evidence of other
crimes stems from the underlying premise of our criminal justice
system, that the defendant must be tried for what he did, not for who
he is. Thus, guilt or innocence of the accused must be established by
evidence relevant to the particular offense being tried, not by showing
that the defendant has engaged in other acts of wrong doing.

United States v. Bradley, 5 F.3d 1317, 1320 (9" Cir. 1993).

With these rules in mind the Government contends the court should allow the
admission of evidence of five homicides to establish motive, opportunity, intent and
plan (ECF 92, page 5, line 16-18). Significantly, the Government does not engage in

any probative value versus prejudicial effect analysis in support of its request. Also,

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without explanation or evidentiary support is the Government’s claim “the
Government intends to introduce to show ... the homicides at Medicine Valley, were
both committed by the defendants”. (ECF 92, page 5, line 2-5)

Here the Defendant submits the Government’s motion fails to support a finding
that the Defendant committed the “other acts” and that the proposed evidence does not
tend to prove a material element of the crimes charged. Even if the court were to find
some minimal relevance of the “other act” evidence, after a proper submission of
proof of the prior conduct, the evidence should be prohibited under Fed. R. Evid. 403
as its probative value is substantially outweighed by its prejudicial effect. Evidence is
unfairly prejudicial if it has an undue tendency to suggest a decision on an improper
basis such as emotion or character rather than evidence presented on the crime
charged. Fed. R. Evid. 403, Advisory Committee’s note; Carter v. Hewitt, 617 F.2d
961 (3 Cir. 1980); United States v. Joetzki, 952 F.2d 1090 (9" Cir. 1991). It is
difficult to conceive of more prejudicial evidence than the homicides that the
Government requests to introduce here. See United States v. Murray, 103 F.3d 310
(3 Cire. 1997) (“evidence in a murder trial but the defendant committed another prior
murder poses a high risk of unfair prejudice”). See United States v. Carpenter, No.
17-10498 (9"" Cir. 2019) (finding abuse of discretion admitting evidence of prior drug
use in case charging kidnap, the court stated drug use is highly prejudicial). Certainly
here, in a case where the evidence of a carjacking and a kidnap would stand on which
charge stand on their own, any evidence, information or mention of homicides

occurring at [EEE White Swan, should be prohibited.

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H/f

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DATED this 17th day of September, 2019.
Presented by:

/s/ Richard A. Smith

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CERTIFICATE OF SERVICE

Thereby certify under penalty of perjury of the laws of the State of Washington
that on September 17, 2019, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF System which will send notification of such filing to the
following:

Thomas J. Hanlon, Assistant United States Attorney
Richard Burson, Assistant United States Attorney

/s/ Lugene M. Borba
LUGENE M. BORBA

Legal Assistant, Smith Law Firm

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